         Case 22-659, Document 68, 11/28/2022, 3426788, Page1 of 2




                              November 28, 2022


Via CM/ECF
Hon. Catherine O’Hagan Wolfe
Clerk of Court
United States Court of Appeals for the Second Circuit
Thurgood Marshall U.S. Courthouse
40 Foley Square
New York, NY 10007

       RE:    United States v. $8,040 in U.S. Currency, No. 22-659
              Change in dates of oral argument availability

Dear Ms. Wolfe:

       I represent Claimant-Appellant Cristal Starling in the above captioned
case. I am writing to update the Court concerning counsel’s availability for
oral argument.

       The dates of unavailability for counsel for Claimant-Appellant are now
as follows: November 24–30; December 1, 14–16, 22–27; Jan. 3, 16, 30–31;
February 16–20; March 17, 21–31; April 1–5.


                                              Sincerely,

                                              /s/ Robert E. Johnson
                                              Robert E. Johnson
                                              INSTITUTE FOR JUSTICE
                                              16781 Chagrin Blvd. #256
                                              Shaker Heights, OH 44120
                                              P. (703) 682-9320
                                              F. (703) 682-9321
                                              E. rjohnson@ij.org

                                              Counsel for Appellant

CC: All Counsel via ECF
         Case 22-659, Document 68, 11/28/2022, 3426788, Page2 of 2




                     Certificate of Filing and Service

       I hereby certify that on this 28th day of November, 2022, I caused this
Letter regarding availability for oral argument to be filed electronically with
the Clerk of the Court using the CM/ECF System, which will send notice of
such filing to all registered CM/ECF users.


                                                     /s/ Robert E. Johnson




                                       2
